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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
KAREN MANERI                                        :
                                                    :      NO. 17-3881
                v.                                  :
STARBUCKS CORPORATION STORE #1527                   :
                                            ORDER


        AND NOW, this 31st day of October, 2019, upon consideration of Defendant’s Motion to

Exclude the Testimony of Plaintiff’s Liability Expert (Doc. No. 23), Plaintiff’s Response (Doc

No. 26) and Defendant’s Reply to the Response (Doc. No. 29), it is hereby ORDERED that the

Motion (Doc. No, 23) is GRANTED and Plaintiff is barred from introducing the testimony of

Jeffrey C. Lolli, Ed.D. at trial.


                                            BY THE COURT:


                                                  /s/Jacob P. Hart
                                            _______________________________
                                                  JACOB P. HART
                                            UNITED STATES MAGISTRATE JUDGE
